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8                   IN THE UNITED STATES DISTRICT COURT
9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )          CASE NO. 2:07-CR-120 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          STIPULATION AND
                                   )          ORDER TO EXCLUDE TIME
14   DANIEL WACKERMAN, et. al.     )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
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18        The United States of America and Defendant Joshua Lane
19   request that the status conference in this case be continued from
20   September 24, 2010 to January 7, 2011 at 10:00 a.m.        They
21   stipulate that the time between September 24, 2010 and January 7,
22   2011 should be excluded from the calculation of time under the
23   Speedy Trial Act.   The parties stipulate that the ends of justice
24   are served by the Court excluding such time, so that counsel for
25   the defendant may have reasonable time necessary for effective
26   preparation, taking into account the exercise of due diligence.
27   18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.        Specifically,
28   defense counsel is still reviewing discovery and conducting

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1    investigation into this matter.             Additionally, the government
2    submitted its completed extradition request to the U.S.
3    Department of Justice - Office of International Affairs for
4    processing on September 21, 2010.             The parties stipulate and
5    agree that the interests of justice served by granting this
6    continuance outweigh the best interests of the public and the
7    defendant in a speedy trial.          18 U.S.C. § 3161(h)(7)(A).
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9                                                  Respectfully Submitted,
10                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
11

12   DATE: September 21, 2010              By:      /s/ Heiko P. Coppola
                                                   HEIKO P. COPPOLA
13                                                 Assistant U.S. Attorney
14

15   DATE: September 21, 2010                       /s/ Bruce Locke1
                                                   BRUCE LOCKE
16                                                 Attorney for Defendant Joshua
                                                   Lane
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18                 IT IS SO ORDERED.
19   DATE: September 21, 2010
                                                   /s/ Edward J. Garcia
20                                                 U. S. DISTRICT JUDGE
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             Mr. Locke authorized AUSA Coppola to electronically sign this
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     stipulation and proposed order.

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